Case 1:23-cv-00142-BLW Document 121-2

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UNITED STATE DISTRICT COURT
DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-

WEST, HAWAII, ALASKA, INDIANA, KEN-
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,
M.D., on behalf of herself and her patients,

and DARIN L. WEYHRICH, M.D., on behalf —

of himself and his patients,
Plaintiffs,

Vv.

RAUL LABRADOR, in his capacity as the At-

torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINE and IDAHO STATE BOARD OF
NURSING, in their official capacities,
COUNTY PROSECUTING ATTORNEYS, in
their official capacities,

Defendants.

Case No. 1:23-cv-00142-BLW

DECLARATION OF PAUL
BRUCE WITHERS

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I, PAUL BRUCE WITHERS, hereby declare and state as follows:

1. I am the prosecuting attorney for Lemhi County, Idaho, and am named
as a Defendant in this action.

2, The Idaho Attorney General’s Office never sent me a copy of the Attor-
ney General’s March 27, 2028 letter to Representative Brent Crane (the “Crane Let-
ter”).

3. I received that letter only in connection with this litigation.

4, I did not, and do not, regard the Crane Letter as any type of guidance or
directive to me or to my office from the Office of the Attorney General.

5. My office has taken no position regarding the scope of enforcement un-
der Idaho Code § 18-622,

6. My prosecutorial decisions are based on my own independent legal duty,

mterpretation of the law, and discretion.

7. This is true no less with respect to any prosecution under Idaho Code
§ 18-622.
8. The Attorney General has no supervisory authority over my work as a

prosecutor or the power to direct me to initiate any prosecution without my consent.
9. I am aware of no prosecution, or threat of prosecution, brought by any-
one in my office against Plaintiffs under Idaho Code § 18-622.
10. In fact, none of the Plaintiffs’ in this action have facilities in my county.
I declare under penalty of perjury that the foregoing is true and correct.

Dated: May 4, 2023
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Z Sb a
PAUL BRUCE WITHERS
